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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------
  IN RE PAYMENT CARD INTERCHANGE FEE
  AND MERCHANT DISCOUNT ANTITRUST
  LITIGATION                                                         FINAL APPROVAL ORDER
                                                                     05-MD-1720 (MKB) (JO)


  This document refers to: ALL ACTIONS
  -------------------------------------------------------------
  MARGO K. BRODIE, United States District Judge:

          On November 7, 2019, the Court held a final approval hearing on (1) whether the terms

  and conditions of the Superseding and Amended Definitive Class Settlement Agreement of the

  Rule 23(b)(3) Class Plaintiffs and the Defendants, including all its Appendices, dated

  September 17, 2018 (the “Superseding Settlement Agreement”), are fair, reasonable, and

  adequate for the settlement of the Class Actions in MDL 1720 by the Rule 23(b)(3) Class

  Plaintiffs and the members of the Rule 23(b)(3) Settlement Class provisionally certified by the

  Court; (2) whether the Court should enter judgment dismissing the Defendants from the Class

  Actions with prejudice except from Barry’s Cut Rate Stores, Inc., et al. v. Visa, Inc., et al.

  (“Barry’s”); and (3) whether the terms of the Plan of Administration and Distribution in

  Appendix I to the Superseding Settlement Agreement are fair, reasonable, and adequate for

  allocating the settlement proceeds among the members of the Rule 23(b)(3) Settlement Class.

          Having considered all papers filed concerning the Superseding Settlement Agreement,

  and all matters submitted to the Court at the final approval hearing and otherwise, the Court

  FINDS, with all terms used herein having the same meanings set forth and defined in the

  Superseding Settlement Agreement, that:




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         A.      The Court has jurisdiction over the Rule 23(b)(3) Class Plaintiffs, all members of

  the Rule 23(b)(3) Settlement Class, and the Defendants, and has jurisdiction to finally approve

  the Superseding Settlement Agreement.

         B.      The notice and exclusion procedures provided to the Rule 23(b)(3) Settlement

  Class, including but not limited to the methods of identifying and notifying members of the Rule

  23(b)(3) Settlement Class, were fair, adequate, and sufficient, constituted the best practicable

  notice under the circumstances, and were reasonably calculated to apprise members of the Rule

  23(b)(3) Settlement Class of the Action, the terms of the Superseding Settlement Agreement, and

  their objection rights, and to apprise members of the Rule 23(b)(3) Settlement Class of their

  exclusion rights, and fully satisfied the requirements of Rule 23 of the Federal Rules of Civil

  Procedure, any other applicable laws or rules of the Court, and due process.

         C.      The notice requirements of the Class Action Fairness Act, 28 U.S.C. § 1715, have

  been met.

         D.      The Court held a final approval hearing on November 7, 2019 to consider the

  fairness, reasonableness, and adequacy of the Superseding Settlement Agreement, and has been

  advised of all objections to the Superseding Settlement Agreement and given due consideration

  thereto.

         E.      The Superseding Settlement Agreement, including its consideration and release

  provisions:

                 (1)     was entered into in good faith, following arm’s-length negotiations, and

  was not collusive;

                 (2)     is fair, reasonable, and adequate, and is in the best interests of the Rule

  23(b)(3) Settlement Class;



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                 (3)     is consistent with the requirements of federal law and all applicable court

  rules, including Rule 23 of the Federal Rules of Civil Procedure; and

                 (4)     was entered into at a time when the record was sufficiently developed and

  complete to enable the Rule 23(b)(3) Class Plaintiffs and the Defendants to have adequately

  evaluated and considered all terms of the Superseding Settlement Agreement.

           F.    The Plan of Administration and Distribution contained in Appendix I to the

  Superseding Settlement Agreement is fair, reasonable, and adequate, including for the

  submission, processing, and allocation of claims by members of the Rule 23(b)(3) Settlement

  Class.

           ACCORDINGLY, pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, the

  Superseding Settlement Agreement, the terms and conditions of which are hereby incorporated

  by reference, are hereby fully and finally APPROVED by the Court.

           NOW, THEREFORE, based on good cause, and as explained in the accompanying

  opinion, it is hereby ORDERED, ADJUDGED, and DECREED that:

           1.    Based on and pursuant to the class action criteria of Rules 23(a) and 23(b)(3) of

  the Federal Rules of Civil Procedure, the Court finds that the requirements of Rules 23(a) and

  23(b)(3) have been met and finally certifies, for settlement purposes only, a Rule 23(b)(3)

  Settlement Class, consisting of all persons, businesses, and other entities that have accepted any

  Visa-Branded Cards and/or Mastercard-Branded Cards in the United States at any time from

  January 1, 2004 to the Settlement Preliminary Approval Date, except that the Rule 23(b)(3)

  Settlement Class shall not include (a) the Dismissed Plaintiffs, (b) the United States government,

  (c) the named Defendants in this Action or their directors, officers, or members of their families,

  or (d) financial institutions that have issued Visa-Branded Cards or Mastercard-Branded Cards or



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  acquired Visa-Branded Card transactions or Mastercard-Branded Card transactions at any time

  from January 1, 2004 to the Settlement Preliminary Approval Date.

         2.      Attached as Exhibit 1 is a list of the members of the Rule 23(b)(3) Settlement

  Class that validly excluded themselves from that Class and became Opt Outs.

         3.      In the event of termination of the Superseding Settlement Agreement, certification

  of the Rule 23(b)(3) Settlement Class shall automatically be vacated and each Defendant may

  fully contest certification of any class as if no Rule 23(b)(3) Settlement Class had been certified.

         4.      The Rule 23(b)(3) Class Plaintiffs shall continue to serve as representatives of the

  Rule 23(b)(3) Settlement Class. The law firms of Robins Kaplan LLP, Berger Montague PC,

  and Robbins Geller Rudman & Dowd LLP shall continue to serve as Rule 23(b)(3) Class

  Counsel for the Rule 23(b)(3) Settlement Class.

         5.      The definition of the proposed class in the Third Consolidated Amended Class

  Action Complaint, filed in MDL 1720 on or about October 27, 2017, is hereby amended to be the

  same as the Rule 23(b)(3) Settlement Class finally certified above.

         6.      Rule 23(b)(3) Class Counsel, the Visa Defendants, the Mastercard Defendants,

  and the Bank Defendants shall continue to maintain the Class Settlement Cash Escrow Account

  as provided in the Superseding Settlement Agreement and the Amended and Restated Class

  Settlement Cash Escrow Agreement and the Amended and Restated Class Settlement

  Interchange Escrow Agreement (attached as Appendices C and D to the Superseding Settlement

  Agreement).

         7.      Within ten business days after the entry of this Rule 23(b)(3) Class Settlement

  Order and Final Judgment, the Escrow Agent shall (a) make a Class Exclusion Takedown

  Payment from the Class Settlement Cash Escrow Account of $466,666,667 to an account that the



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  Visa Defendants shall designate, and (b) make a Class Exclusion Takedown Payment from the

  Class Settlement Cash Escrow Account of $233,333,333 to an account or accounts that the

  Mastercard Defendants and the Bank Defendants shall designate. Both of those payments shall

  be made regardless of any appeal or other challenge made to the Class Exclusion Takedown

  Payments or their amounts, as provided in Paragraph 21 of the Superseding Settlement

  Agreement.

         8.      The parties to the Superseding Settlement Agreement have clarified that in the

  event the claims process under the Plan of Administration and Distribution results in any

  determinations that would have reduced the Class Exclusion Takedown Payments provided in

  the preceding paragraph, as calculated pursuant to Paragraph 22 of the Superseding Settlement

  Agreement, the Visa Defendants shall refund the difference with respect to the Class Exclusion

  Takedown Payment made to them, and the Mastercard Defendants and the Bank Defendants

  shall refund the difference with respect to the Class Exclusion Takedown Payment made to them,

  by wire transfer to the Class Settlement Cash Escrow Account. Those payments shall be made

  within ten business days after the determinations at issue have become final and non-reviewable.

         9.      Subject to Paragraphs 27−28 and the other terms of the Superseding Settlement

  Agreement, as consideration for the settlement of the Class Actions in MDL 1720 except for

  Barry’s, members of the Rule 23(b)(3) Settlement Class shall be entitled to both make claims for

  and enjoy the benefits from money payments from the Net Cash Settlement Fund. The Net Cash

  Settlement Fund will be the amount in the Class Settlement Cash Escrow Account, including the

  Additional Payment Amount and the amounts to be transferred from the Class Settlement

  Interchange Escrow Account to the Class Settlement Cash Escrow Account, as reduced by (i) the

  Taxes and administrative costs related to the Class Settlement Cash Escrow Account, (ii) the



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  Class Exclusion Takedown Payments, and (iii) any other payments approved by the Court and

  that are permitted under Paragraphs 19−26 of the Superseding Settlement Agreement, including

  for Attorneys’ Fee Awards, Expense Awards, Rule 23(b)(3) Class Plaintiffs’ Service Awards,

  and Settlement Administration Costs. The Net Cash Settlement Fund shall be distributed to

  eligible members of the Rule 23(b)(3) Settlement Class pursuant to the claims process specified

  in the Plan of Administration and Distribution contained in Appendix I to the Superseding

  Settlement Agreement.

         10.     The terms and provisions of the Fourth Amended Protective Order, filed on

  October 29, 2009 and approved by the Court on October 30, 2009, and the terms and provisions

  of the Protective Order filed on April 3, 2015 on the 14-MD-1720 docket and approved by the

  Court on April 9, 2015, shall survive and continue in effect through and after entry of this Rule

  23(b)(3) Class Settlement Order and Final Judgment.

         11.     Nothing in the Superseding Settlement Agreement or this Rule 23(b)(3) Class

  Settlement Order and Final Judgment is or shall be deemed or construed to be an admission or

  evidence of any violation of any statute or law or of any liability or wrongdoing by any of the

  Defendants, or of the truth or validity or lack of truth or validity of any of the claims or

  allegations alleged in any of the Class Actions in MDL 1720.

         12.     Nothing in this Rule 23(b)(3) Class Settlement Order and Final Judgment is

  intended to or shall modify the terms of the Superseding Settlement Agreement.

         13.     Rule 23(b)(3) Class Plaintiffs and Rule 23(b)(3) Class Counsel shall provide to

  the Visa Defendants, the Mastercard Defendants, and the Bank Defendants such information as

  they may reasonably request regarding the claims made by, and payments made to, members of

  the Rule 23(b)(3) Settlement Class from the Cash Settlement Cash Escrow Account, which



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  information may be produced subject to the terms of the operative protective orders in this

  Action that address the production of confidential and highly confidential information.

         14.     All the Class Actions consolidated in MDL 1720, listed in Appendix A to the

  Superseding Settlement Agreement and in Exhibit 2 hereto, including all claims against the

  Defendants in those Class Actions, are hereby dismissed with prejudice, except for Barry’s, with

  each party to bear its own costs.

         15.     Each member of the Rule 23(b)(3) Settlement Class and each Rule 23(b)(3)

  Settlement Class Releasing Party unconditionally, fully, and finally releases and forever

  discharges the Defendants and each of the other Rule 23(b)(3) Settlement Class Released Parties

  from all claims released in the Superseding Settlement Agreement, and waives any rights to the

  protections afforded under California Civil Code § 1542 and/or any other similar, comparable, or

  equivalent laws.

         16.     Specifically, the members of the Rule 23(b)(3) Settlement Class agree to the

  following release and covenant not to sue:

                  A.     The “Rule 23(b)(3) Settlement Class Releasing Parties” are
         individually and collectively Rule 23(b)(3) Class Plaintiffs and each member of
         the Rule 23(b)(3) Settlement Class, on behalf of themselves and any of their
         respective past, present, or future officers, directors, stockholders, agents,
         employees, legal representatives, partners, associates, trustees, parents,
         subsidiaries, divisions, affiliates, heirs, executors, administrators, estates,
         purchasers, predecessors, successors, and assigns, whether or not they object to
         the settlement set forth in the Superseding and Amended Class Settlement
         Agreement, and whether or not they make a claim for payment from the Net Cash
         Settlement Fund.

                 B.     The “Rule 23(b)(3) Settlement Class Released Parties” are all of
         the following:

                        (a)     Visa U.S.A. Inc., Visa International Service Association,
         Visa International, Visa Inc., Visa Asia Pacific Region, Visa Canada Association,
         Visa Central & Eastern Europe, Middle East & Africa Region, Visa Latin
         America & Caribbean Region, Visa Europe, Visa Europe Limited, Visa Europe


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       Services, Inc., and any other entity that now authorizes or licenses, or in the past
       has authorized or licensed, a financial institution to issue any Visa-Branded Cards
       or to acquire any Visa-Branded Card transactions.

                      (b)     Mastercard International Incorporated, Mastercard
       Incorporated, and any other entity that now authorizes or licenses, or in the past
       has authorized or licensed, a financial institution to issue any Mastercard-Branded
       Cards or to acquire any Mastercard-Branded Card transactions.

                     (c)   Bank of America, N.A.; BA Merchant Services LLC
       (formerly known as National Processing, Inc.); Bank of America Corporation; NB
       Holdings; MBNA America Bank, N.A.; and FIA Card Services, N.A.

                     (d)    Barclays Bank plc; Barclays Delaware Holdings, LLC
       (formerly known as Juniper Financial Corporation); Barclays Bank Delaware
       (formerly known as Juniper Bank); and Barclays Financial Corp.

                     (e)     Capital One Bank (USA), N.A.; Capital One F.S.B.; and
       Capital One Financial Corporation.

                      (f)    Chase Bank USA, N.A. (and as successor to Chase
       Manhattan Bank USA, N.A. and Bank One Delaware, N.A.); Paymentech, LLC
       (and as successor to Chase Paymentech Solutions, LLC); JPMorgan Chase & Co.
       (and as successor to Bank One Corporation); and JPMorgan Chase Bank, N.A.
       (and as successor to Washington Mutual Bank).

                       (g)    Citibank (South Dakota), N.A.; Citibank, N.A.; Citigroup
       Inc.; and Citicorp.

                      (h)     Fifth Third Bancorp.

                      (i)     First National Bank of Omaha.

                   (j)   HSBC Finance Corporation; HSBC Bank USA, N.A.;
       HSBC North America Holdings Inc.; HSBC Holdings plc; HSBC Bank plc; and
       HSBC U.S.A. Inc.

                      (k)     National City Corporation and National City Bank of
       Kentucky.

                     (l)     The PNC Financial Services Group, Inc. and PNC Bank,
       National Association.

                      (m)     SunTrust Banks, Inc. and SunTrust Bank.

                      (n)     Texas Independent Bancshares, Inc.

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                      (o)     Wachovia Bank, N.A. and Wachovia Corporation.

                     (p)    Washington Mutual, Inc.; Washington Mutual Bank;
       Providian National Bank (also known as Washington Mutual Card Services, Inc.);
       and Providian Financial Corporation.

                     (q)    Wells Fargo & Company (and as successor to Wachovia
       Corporation) and Wells Fargo Bank, N.A. (and as successor to Wachovia Bank,
       N.A.).

                      (r)    Each and every entity or person alleged to be a
       co-conspirator of any Defendant in the Third Consolidated Amended Class Action
       Complaint or any of the Class Actions.

                        (s)    Each of the past, present, or future member or customer
       financial institutions of Visa U.S.A. Inc., Visa International Service Association,
       Visa Inc., Visa Europe, Visa Europe Limited, Mastercard International
       Incorporated, or Mastercard Incorporated.

                      (t)     For each of the entities or persons in Paragraphs B(a)-(s)
       above, each of their respective past, present, and future, direct and indirect,
       parents (including holding companies), subsidiaries, affiliates, and associates (all
       as defined in SEC Rule 12b-2 promulgated pursuant to the Securities Exchange
       Act of 1934), or any other entity in which more than 50% of the equity interests
       are held.

                       (u)    For each of the entities or persons in Paragraphs B(a)-(t)
       above, each of their respective past, present, and future predecessors, successors,
       purchasers, and assigns (including acquirers of all or substantially all of the assets,
       stock, or other ownership interests of any of the Defendants to the extent a
       successor’s, purchaser’s, or acquirer’s liability is based on the Rule 23(b)(3)
       Settlement Class Released Parties as defined in Paragraphs B(a)-(t) above).

                        (v)     For each of the entities or persons in Paragraphs B(a)-(u)
       above, each of their respective past, present, and future principals, trustees,
       partners, officers, directors, employees, agents, attorneys, legal or other
       representatives, trustees, heirs, executors, administrators, estates, shareholders,
       advisors, predecessors, successors, purchasers, and assigns (including acquirers of
       all or substantially all of the assets, stock, or other ownership interests of each of
       the foregoing entities to the extent a successor’s, purchaser’s, or acquirer’s
       liability is based on the Rule 23(b)(3) Settlement Class Released Parties as
       defined in Paragraphs B(a)-(u) above).

              C.     In addition to the effect of the Rule 23(b)(3) Class Settlement
       Order and Final Judgment entered in accordance with the Superseding and



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       Amended Class Settlement Agreement, including but not limited to any res
       judicata effect, and except as provided hereinafter in Paragraphs F and I below:

                        (a)    The Rule 23(b)(3) Settlement Class Releasing Parties
       hereby expressly and irrevocably waive, and fully, finally, and forever settle,
       discharge, and release the Rule 23(b)(3) Settlement Class Released Parties from,
       any and all manner of claims, demands, actions, suits, and causes of action,
       whether individual, class, representative, parens patriae, or otherwise in nature,
       for damages, restitution, disgorgement, interest, costs, expenses, attorneys’ fees,
       fines, civil or other penalties, or other payment of money, or for injunctive,
       declaratory, or other equitable relief, whenever incurred, whether directly,
       indirectly, derivatively, or otherwise, whether known or unknown, suspected or
       unsuspected, in law or in equity, that any Rule 23(b)(3) Settlement Class
       Releasing Party ever had, now has, or hereafter can, shall, or may have and that
       have accrued as of the Settlement Preliminary Approval Date or accrue no later
       than five years after the Settlement Final Date arising out of or relating to any
       conduct, acts, transactions, events, occurrences, statements, omissions, or failures
       to act of any Rule 23(b)(3) Settlement Class Released Party that are or have been
       alleged or otherwise raised in the Action, or that could have been alleged or raised
       in the Action relating to the subject matter thereof, or arising out of or relating to
       a continuation or continuing effect of any such conduct, acts, transactions, events,
       occurrences, statements, omissions, or failures to act. For avoidance of doubt,
       this release shall extend to, but only to, the fullest extent permitted by federal law.

                      (b)     It is expressly agreed, for purposes of clarity, that any
       claims arising out of or relating to any of the following conduct, acts, transactions,
       events, occurrences, statements, omissions, or failures to act are claims that were
       or could have been alleged in this Action and relate to the subject matter thereof:

                                (i)    any interchange fees, interchange rates, or any Rule
       of any Visa Defendant or Mastercard Defendant relating to interchange fees,
       interchange rates, or to the setting of interchange fees or interchange rates with
       respect to any Visa-Branded Card transactions in the United States or any
       Mastercard-Branded Card transactions in the United States;

                              (ii) any Merchant Fee of any Rule 23(b)(3) Settlement
       Class Released Party relating to any Visa-Branded Card transactions in the United
       States or any Mastercard-Branded transactions in the United States;

                                (iii) any actual or alleged “no surcharge” rules, “honor
       all cards” rules, “honor all issuers” rules, “honor all devices” rules, rules requiring
       the honoring of all credentials or accounts, “no minimum purchase” rules, “no
       discounting” rules, “non-discrimination” rules, “anti-steering” rules, Rules that
       limit merchants in favoring or steering customers to use certain payment systems,
       “all outlets” rules, “no bypass” rules, “no multi-issuer” rules, “no multi-bug”
       rules, routing rules, cross-border acquiring rules, card authentication or cardholder


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       verification rules, “cardholder selection” rules or requirements, PAVD rules, rules
       or conduct relating to routing options regarding acceptance technology for
       mobile, e-commerce, or online payments, or development and implementation of
       tokenization standards;

                               (iv) any reorganization, restructuring, initial or other
       public offering, or other corporate structuring of any Visa Defendant or
       Mastercard Defendant;

                              (v) any service of an employee or agent of any Rule
       23(b)(3) Settlement Class Released Party on any board or committee of any Visa
       Defendant or Mastercard Defendant; or

                                (vi) any actual or alleged agreement (or alleged
       continued participation therein) (A) between or among any Visa Defendant and
       any Mastercard Defendant, (B) between or among any Visa Defendant or
       Mastercard Defendant and any other Rule 23(b)(3) Settlement Class Released
       Party or Parties, or (C) between or among any Defendant or Rule 23(b)(3)
       Settlement Class Released Party or Parties, relating to (i)-(v) above or to any Rule
       23(b)(3) Settlement Class Released Party’s imposition of, compliance with, or
       adherence to (i)-(v) above.

                       (c)     For purposes of clarity, references to the rules identified in
       this Paragraph C mean those rules as they are or were in place on or before the
       Settlement Preliminary Approval Date and rules in place thereafter that are
       substantially similar to those rules in place as of the Settlement Preliminary
       Approval Date.

               D.       Each Rule 23(b)(3) Settlement Class Releasing Party further
       expressly and irrevocably waives, and fully, finally, and forever settles and
       releases, any and all defenses, rights, and benefits that the Rule 23(b)(3)
       Settlement Class Releasing Party may have or that may be derived from the
       provisions of applicable law which, absent such waiver, may limit the extent or
       effect of the release contained in the preceding Paragraphs A-C. Without limiting
       the generality of the foregoing, each Rule 23(b)(3) Settlement Class Releasing
       Party expressly and irrevocably waives and releases any and all defenses, rights,
       and benefits that the Rule 23(b)(3) Settlement Class Releasing Party might
       otherwise have in relation to the release by virtue of the provisions of California
       Civil Code Section 1542 or similar laws of any other state or jurisdiction.
       SECTION 1542 PROVIDES: “CERTAIN CLAIMS NOT AFFECTED BY
       GENERAL RELEASE. A GENERAL RELEASE DOES NOT EXTEND TO
       CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR.” In addition, although each Rule 23(b)(3) Settlement Class Releasing


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       Party may hereafter discover facts other than, different from, or in addition to
       those that it or he or she knows or believes to be true with respect to any claims
       released in the preceding Paragraphs A-C, each Rule 23(b)(3) Settlement Class
       Releasing Party hereby expressly waives, and fully, finally, and forever settles,
       discharges, and releases, any known or unknown, suspected or unsuspected,
       contingent or non-contingent claims within the scope of the preceding
       Paragraphs A-C, whether or not concealed or hidden, and without regard to the
       subsequent discovery or existence of such other, different, or additional facts.
       Rule 23(b)(3) Class Plaintiffs acknowledge, and the members of the Rule 23(b)(3)
       Settlement Class shall be deemed by operation of the Rule 23(b)(3) Class
       Settlement Order and Final Judgment to have acknowledged, that the foregoing
       waiver was separately bargained for and is a key element of this Superseding and
       Amended Class Settlement Agreement.

                E.      The release in Paragraphs A-D above does not bar an investigation
       or action, whether denominated as parens patriae, law enforcement, or regulatory,
       by a state, quasi-state, or local governmental entity to vindicate sovereign or
       quasi-sovereign interests. The release shall bar a claim brought by a state, quasi-
       state, or local governmental entity to the extent that such claim is based on a state,
       quasi-state, or local government entity’s proprietary interests as a member of the
       Rule 23(b)(3) Settlement Class that has received or is entitled to receive a
       financial recovery in this action. The release shall also bar a claim, whether
       denominated as seeking damages, restitution, unjust enrichment, or other
       monetary relief, brought by a state, quasi-state, or local governmental entity for
       monetary harm sustained by natural persons, businesses, other non-state, non-
       quasi-state, and non-local governmental entities or private parties who themselves
       are eligible to be members of the Rule 23(b)(3) Settlement Class.

              F.      Notwithstanding anything to the contrary in Paragraphs A-E
       above, the release in Paragraphs A-E above shall not release:

                       (a)     A Rule 23(b)(3) Settlement Class Releasing Party’s
       continued participation, as a named representative or non-representative class
       member, in Barry’s Cut Rate Stores, Inc., et al. v. Visa, Inc., et al., MDL No.
       1720 Docket No. 05-md-01720-MKB-JO (“Barry’s”), solely as to injunctive
       relief claims alleged in Barry’s. As to all such claims for injunctive relief in
       Barry’s, the Rule 23(b)(3) Settlement Class Releasing Parties retain all rights
       pursuant to Rule 23 of the Federal Rules of Civil Procedure which they have as a
       named representative plaintiff or absent class member in Barry’s except the right
       to initiate a new separate action before five years after the Settlement Final Date.
       Nothing in this Paragraph shall be read to enlarge, restrict, conflict with, or affect
       the terms of any release or judgment to which any Rule 23(b)(3) Settlement Class
       Releasing Party may become bound in Barry’s, and nothing in the release in
       Paragraphs A-E above shall be interpreted to enlarge, restrict, conflict with, or
       affect the request for injunctive relief that the plaintiffs in Barry’s may seek or
       obtain in Barry’s.


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                        (b)     Any claims asserted in B&R Supermarket, Inc., et al. v.
       Visa, Inc., et al., No. 17-CV-02738 (E.D.N.Y.), as of the date of the parties’
       execution of this Superseding and Amended Class Settlement Agreement, that are
       based on allegations that payment card networks unlawfully agreed with one
       another to shift the liability of fraudulent payment card transactions from card-
       issuing financial institutions to merchants beginning in October 2015.

                       (c)      Any claim of a Rule 23(b)(3) Settlement Class Releasing
       Party that is based on standard commercial disputes arising in the ordinary course
       of business under contracts or commercial relations regarding loans, lines of
       credit, or other related banking or credit relations, individual chargeback disputes,
       products liability, breach of warranty, misappropriation of cardholder data or
       invasion of privacy, compliance with technical specifications for a merchant’s
       acceptance of Visa-Branded Credit Cards or Debit Cards, or Mastercard-Branded
       Credit Cards or Debit Cards, and any other dispute arising out of a breach of any
       contract between any of the Rule 23(b)(3) Settlement Class Releasing Parties and
       any of the Rule 23(b)(3) Settlement Class Released Parties; provided, however,
       that Paragraphs A-E above and not this Paragraph shall control in the event that
       any such claim challenges the legality of interchange rules, interchange rates, or
       interchange fees, or any other Rule, fee, charge, or other conduct covered by any
       of the claims released in Paragraphs A-E above.

                     (d)     Claims based only on an injury suffered as (i) a payment
       card network competitor of the Visa Defendants or the Mastercard Defendants, or
       (ii) an ATM operator that is not owned by, or directly or indirectly controlled by,
       one or more of the Rule 23(b)(3) Settlement Class Released Parties.

               G.      Except as provided above in Paragraph F, upon the Settlement
       Final Approval Date each of the Rule 23(b)(3) Settlement Class Releasing Parties
       agrees and covenants not to: (a) sue any of the Rule 23(b)(3) Settlement Class
       Released Parties on the basis of any claim released in Paragraphs A-E above;
       (b) assist any third party in commencing or maintaining any private civil lawsuit
       against any Rule 23(b)(3) Settlement Class Released Party related in any way to
       any claim released in Paragraphs A-E above; or (c) take any action or make any
       claim until five years after the Settlement Final Date that as of or after the
       Settlement Final Approval Date a Rule 23(b)(3) Settlement Class Released Party
       has continued to participate in, and failed to withdraw from, any alleged unlawful
       horizontal conspiracies or agreements relating to the claims released in
       Paragraphs A-E above, which allegedly arise from or relate to the pre-IPO
       structure or governance of any of the Visa Defendants or the pre-IPO structure or
       governance of any of the Mastercard Defendants, or any Bank Defendant’s
       participation therein. For the avoidance of doubt, however, nothing in this
       Paragraph shall preclude a Rule 23(b)(3) Settlement Class Releasing Party from
       taking any action compelled by law or court order.




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                H.       Each Rule 23(b)(3) Settlement Class Releasing Party further
        releases each of the Visa Defendants, Mastercard Defendants, and Bank
        Defendants, and their counsel and experts in this Action, from any claims relating
        to the defense and conduct of this Action, including the negotiation and terms of
        the Definitive Class Settlement Agreement or the Superseding and Amended
        Class Settlement Agreement, except for any claims relating to enforcement of the
        Superseding and Amended Class Settlement Agreement. Each Visa Defendant,
        Mastercard Defendant, and Bank Defendant releases the Rule 23(b)(3) Class
        Plaintiffs, the other plaintiffs in the Class Actions (except for the plaintiffs named
        in Barry’s), Rule 23(b)(3) Class Counsel, Rule 23(b)(3) Class Plaintiffs’ other
        counsel who have participated in any settlement conferences before the Court for
        a Class Plaintiff that executes the Superseding and Amended Class Settlement
        Agreement, and their respective experts in the Class Actions, from any claims
        relating to their institution or prosecution of the Class Actions, including the
        negotiation and terms of the Definitive Class Settlement Agreement or the
        Superseding and Amended Class Settlement Agreement, except for any claims
        relating to enforcement of the Superseding and Amended Class Settlement
        Agreement.

               I.     In the event that the Superseding and Amended Class Settlement
        Agreement is terminated pursuant to Paragraphs 61-64 of the Superseding and
        Amended Class Settlement Agreement, or any condition for the Settlement Final
        Approval Date is not satisfied, the release and covenant not to sue provisions of
        Paragraphs A-H above shall be null and void and unenforceable.

        17.     All members of the Rule 23(b)(3) Settlement Class, and those subject to their

 control, are hereby enjoined and forever barred from commencing, maintaining, or participating

 in, or permitting another to commence, maintain, or participate in on its behalf, any claims

 released against the Rule 23(b)(3) Settlement Class Released Parties, as set forth in the release

 and covenant not to sue provisions in Paragraph 15 above; provided, however, for purposes of

 clarity, that members of the Rule 23(b)(3) Settlement Class may continue to prosecute or

 participate in injunctive relief claims in Barry’s as provided in Paragraph 15(F)(a) above.

        18.     Without affecting the finality of this judgment in any way, and as further provided

 in Paragraphs 65−68 of the Superseding Settlement Agreement, this Court retains continuing

 jurisdiction in MDL 1720 over the Rule 23(b)(3) Class Plaintiffs, the members of the Rule

 23(b)(3) Settlement Class, and the Defendants to implement, administer, consummate, and

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 enforce the Superseding Settlement Agreement and this Rule 23(b)(3) Class Settlement Order

 and Final Judgment, including any disputes relating to, or arising out of, the release and covenant

 not to sue of the Rule 23(b)(3) Settlement Class or any claim for payment from the Class

 Settlement Cash Escrow Account.

        19.     The Rule 23(b)(3) Class Plaintiffs, members of the Rule 23(b)(3) Settlement

 Class, and the Defendants irrevocably submit to the exclusive jurisdiction of this Court for the

 resolution of any matter covered by the Superseding Settlement Agreement, this Rule 23(b)(3)

 Class Settlement Order and Final Judgment, or the applicability of the Superseding Settlement

 Agreement or this Rule 23(b)(3) Class Settlement Order and Final Judgment. All applications to

 the Court with respect to any aspect of the Superseding Settlement Agreement or this Rule

 23(b)(3) Class Settlement Order and Final Judgment shall be presented to and determined by

 United States District Court Judge Margo K. Brodie for resolution as a matter within the scope of

 MDL 1720, or, if she is not available, any other District Court Judge designated by the Court.

        20.     In the event that the provisions of the Superseding Settlement Agreement or the

 Rule 23(b)(3) Class Settlement Order and Final Judgment are asserted by any Defendant or other

 Rule 23(b)(3) Settlement Class Released Party as a ground for a defense, in whole or in part, to

 any claim or cause of action, or are otherwise raised as an objection in any other suit, action, or

 proceeding by a Rule 23(b)(3) Class Plaintiff or member of the Rule 23(b)(3) Settlement Class,

 the Rule 23(b)(3) Settlement Class Released Party shall be entitled to an immediate stay of that

 suit, action, or proceeding until after this Court has entered an order or judgment determining

 any issues relating to the defense or objections based on such provisions, and no further judicial

 review of such order or judgment is possible.




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        21.     This Rule 23(b)(3) Class Settlement Order and Final Judgment terminates and

 disposes of all claims against the Defendants in the Class Actions in MDL 1720, except for the

 injunctive relief claims alleged by the named plaintiffs in Barry’s. There is no just reason for

 delay in entering final judgment. The Court hereby directs the Clerk to enter judgment forthwith

 in accordance with the terms of this Rule 23(b)(3) Class Settlement Order and Final Judgment,

 which judgment shall be final and appealable.

 Dated: December 13, 2019
        Brooklyn, New York

                                                      SO ORDERED:


                                                            s/ MKB
                                                      MARGO K. BRODIE
                                                      United States District Judge




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